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JOSEPH SAVERI

LAW FIRM

555 MONTGOMERY STREET August 24, 2016

SUITE 1210

SAN FRANCISCO, CA 94111
Via Electronic Mail

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FAX 415.395.9940 Stacey Grigsby
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Re: Leetal.v. Zuffa, LLC, Case No. 2:15-cv-01045-RFB-PAL (D.
Nev.)

Dear Stacey,

I write in response to your letter dated August 19, 2016. The documents
you identified are neither privileged communications nor attorney work
product. Accordingly, Plaintiffs intend to file a motion to challenge
Zuffa’s assertion of work product protection for ZFL-0557588, ZFL-
1824835 and ZFL-1824837. Pursuant to Section 11 of the Revised
Stipulation and Protective Order (Dkt. 217) we have sequestered these
documents so that no attorney can access them, but have retained a copy
of each for the purpose of challenging the designations with the Court.

Sincerely,

Kevin E.

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